                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


CONCORD MUSIC GROUP, INC., ET AL.,

            Plaintiffs,                             Case No. 3:23-cv-01092

             v.
                                                    Chief Judge Waverly D. Crenshaw, Jr.
ANTHROPIC PBC,                                      Magistrate Judge Alistair Newbern

            Defendant.


                  PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

        Pursuant to Federal Rule of Civil Procedure 65, plaintiffs Concord Music Group, Inc.,

 Capitol CMG, Inc., Universal Music Corp., Songs of Universal, Inc., Universal Music – MGB

 NA LLC, Polygram Publishing, Inc., Universal Music – Z Tunes LLC, and ABKCO Music, Inc.

 (collectively, “Publishers”) move for a preliminary injunction against defendant Anthropic PBC

 (“Anthropic”).

        Anthropic is an artificial intelligence (“AI”) company engaged in blatant and widespread

 copyright infringement. Anthropic has built its AI models and a multibillion-dollar business by

 systematically copying and disseminating copyrighted text, including the lyrics to musical

 compositions owned and controlled by Publishers. In doing so, Anthropic violates Publishers’

 copyrights, unlawfully enriches itself at the expense of Publishers and their songwriters, and

 causes irreparable harm. Publishers seek a preliminary injunction narrowly tailored to address

 these ongoing harms and stem Anthropic’s infringement while this case proceeds.

        For these reasons and as set forth more fully in the accompanying Memorandum of Law

 and supporting exhibits, Publishers respectfully request that the Court grant this Motion and

 enter a preliminary injunction (1) requiring Anthropic to implement effective guardrails in its


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currently available AI models to prevent output that reproduces, distributes, or displays

Publishers’ lyrics, including the 500 representative works identified in Exhibit A to the

Complaint, and (2) precluding Anthropic from creating or using unauthorized copies of

Publishers’ lyrics to train future AI models.


                                                           Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

       I hereby certify that on November 16, 2023, I authorized the electronic filing of the

foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to the following:

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